              Case 20-10343-LSS       Doc 11670     Filed 12/08/23      Page 1 of 11




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                       )     Case No. 20-10343 (LSS)
                                              )
 BOY SCOUTS OF AMERICA AND                    )     Chapter 11
 DELAWARE BSA, LLC,1                          )     (Jointly Administered)
                                              )
                         Debtors.             )     Related Docs: 11,566, 11,577, 11579, 11580,
                                                    11,630 11,640 and 11,XXXX
                                              )

SUPPLEMENTAL MEMORANDUM IN SUPPORT OF CERTAIN CLAIMANTS OF
THE KRAUSE & KINSMAN, THE ROBERT PAHLKE LAW GROUP, AND DAVIS
 BETHUNE & JONES LAW FIRMS MOTIONS TO CORRECT ELECTION FROM
  THE EXPEDITED PAYMENT OPTION TO THE TRUST (“MATRIX”) CLAIMS
                 PROCESS OR INDEPENDENT REVIEW

          COMES NOW, the Movants, (the “Claimants”) by and through the undersigned

counsel, and files this Supplemental Memorandum in Support of Certain Claimants of the

Krause & Kinsman, the Robert Pahlke Law Group and Davis Bethune & Jones Law Firms

Motions to Correct Election From the Expedited Payment Option to the Trust (“Matrix”) Claims

Process or Independent Review (the “Memorandum”).                 This Memorandum is filed

consistent with the Court’s direction following the November 20, 2023, oral argument

on the Movants’ previously filed Motions to Correct Election from the Expedited Payment

Option to the Trust (“Matrix”) Claims Process or Independent Review (the “Motions”), Dkts.

11,566, 11,577, 11579, 11580, 11,630, and 11,XXXX, to address questions raised by the

Court during argument. Transcript regarding Hearing Held 11/20/2023, at p. 120/5-17.

Dkt 11,640 (the “Transcript”).


          1 The Debtors in these Chapter 11 cases, together with the last four digits of each

debtor's federaltax identification number, are as follows: Boy Scouts of America (6300)
and Delaware BSA, LLC(4311). The Debtors’ mailing address is 1325 West Walnut Hill
Lane, Irving, Texas 7503.

                                          Page 1 of 11
            Case 20-10343-LSS        Doc 11670      Filed 12/08/23    Page 2 of 11




                                QUESTIONS PRESENTED

       1.       Why is the Pioneer Investment Services Co. v. Brunswick Associates Limited
Partnership, 507 U.S. 380, 113 S. Ct. 1489, 123 L. Ed. 2d 74 (1993) “excusable neglect” standard
applicable to the Motions:

       In the Transcript at page 14/14-16, the Court asked why is Pioneer “the correct

standard? And I have been struggling with what the standard should be assuming I can

do it." The premise of the Court's inquiry is that the Pioneer facts are very different from

the facts underlying the Motions. Consequently, the Pioneer court’s “excusable standard”

may be inapplicable to the Motions.

       The factual setting underlying Pioneer was an unsecured creditor’s failure to file a

proof of claim before the claims bar date. Pioneer, US at 384. Those facts were further

complicated by the creditor's attorney's failure to act timely. Id. Indeed, many cases that

reply to Pioneer bear a similar fact pattern to that case. See e.g., Dkts 2659, 6108, 7237, 8249,

8538, 9538 and 10042. However, that fact pattern, i.e., the timeliness of a filing is not

dispositive of the breadth of Pioneer’s excusable neglect standard. Quite the contrary.

        Pioneer was decided based on FEDERAL RULE OF BANKRUPTCY 9006(b)(1)’s good

cause standard. The court did so, in part, by analogizing and referencing that standard

against the FEDERAL RULES OF CIVIL PROCEDURE corollary in RULE 6(b) and examining the

underlying Congressional intent.        The Supreme Court’s discussion is enlightening.

Acknowledging the various circuit court’s approach to “excusable neglect,” the court

went on to say:

       There is, of course, a range of possible explanations for a party’s failure to
       comply with a court-ordered filing deadline. At one end of the spectrum, a
       party may be prevented from complying by forces beyond its control, such
       as by an act of God or unforeseeable human intervention. At the other, a


                                         Page 2 of 11
           Case 20-10343-LSS        Doc 11670     Filed 12/08/23   Page 3 of 11




       party simply may choose to flout a deadline. In between lie cases where a
       party may choose to miss a deadline although for a very good reason, such
       as to render first aid to an accident victim discovered on the way to the
       courthouse, as well as cases where a party misses a deadline through
       inadvertence, miscalculation, or negligence.

Id. at 387-88. The court then summarized the petitioner's position on what should or

should not constitute “excusable neglect." Rejecting the petitioner's narrow position, the

court declared:

       We think that petitioner’s interpretation is not consonant with either the
       language of the Rule or the evident purposes underlying it. First, the Rule
       grants a reprieve to out-of-time filings that were delayed by “neglect.” The
       ordinary meaning of “neglect” is “to give little attention or respect” to a
       matter, or, closer to the point for our purposes, “to leave undone or
       unattended to esp[ecially] through carelessness.” WEBSTER’S NINTH NEW
       COLLEGIATE DICTIONARY 791 (1983) (emphasis added). The word therefore
       encompasses both simple, faultless omissions to act and, more commonly,
       omissions caused by carelessness. Courts properly assume, absent
       sufficient indication to the contrary, that Congress intends the words in its
       enactments to carry “their ordinary, contemporary, common meaning.” . .
       . Hence, by empowering the courts to accept late filings “where the failure
       to act was the result of excusable neglect,” RULE 9006(b)(1), Congress
       plainly contemplated that the courts would be permitted, where
       appropriate, to accept late filings caused by inadvertence, mistake, or
       carelessness, as well as by intervening circumstances beyond the party’s
       control.

Id. at 388-89 (case citation omitted).

       If this Court is persuaded that the factual issue before it is each claimant’s failure

to timely make their election by way of their ballot, then the Pioneer court’s expression of

what constitutes "excusable neglect" clearly contemplates that “inadvertence, mistake, or

carelessness” falls within the excusable neglect standard. The common thread for every

claimant falling within the Court’s own category 1, i.e., mistake, Transcript at 8/18 to 9/6,

is that they timely filed their ballot but mistakenly elected the expedited payment group.




                                         Page 3 of 11
           Case 20-10343-LSS        Doc 11670     Filed 12/08/23    Page 4 of 11




Hence, for clients of the Krause & Kinsman and Davis Bethune & Jones law firms, all of

whom fall within the Court’s category 1, Pioneer’s “excusable neglect” standard is “the

right standard because it is, kind of, the standard that fits the problem.”2

       Several facts drove the outcome in Pioneer. One such fact was “the lack of any

prejudice to the debtor or to the interests of efficient judicial administration.” Pioneer, US

at 397-98. It should be noted that the Debtors filed no objection to any of the Motions.

Nor did they take a position at oral argument. From this silence, it should be recognized

that the Debtors perceived no prejudice nor any impediment to efficient judicial

administration of the bankruptcy. Another fact driving the Pioneer result was the absence

of “any indication at all of bad faith.” Id. at 398. Again, the Debtors took no position on

the issue. For her part, the Trustee did not argue prejudice, efficiency, or bad faith. See

Dkts. 11,565, 11,600, and 11, 602 (not a single reference in any of the Trustee's objections

to any prejudice, any deleterious impact on judicial administration, or bad faith related

to the relief sought in the Motions).

       Last, as set out in the Robert Pahlke Law Group’s motion, Dkt. 11,577 at pp.5-12,

Pioneer established a four-part analysis. As set out that motion, the Pioneer factors are

satisfied without repeating that analysis here. Finally, the Pioneer court’s critical factual

predicates for relief, i.e., the lack of prejudice, no deleterious impact on judicial



       2 As alluded to earlier, at pp 3-4, if the Court is persuaded that the issue before it

is timeliness in making the election, then Pioneer provides the appropriate analytical
framework to apply to the Motions. Conversely, if the Court concludes that issues
arising out of the Motions are unrelated to timing, Pioneer is helpful but not dispositive.
As discussed herein, if the issue is rooted in the claimant’s election error, then principles
of contract interpretation offer a well-worn analytical framework to address the
Motions.

                                        Page 4 of 11
            Case 20-10343-LSS        Doc 11670      Filed 12/08/23     Page 5 of 11




administration, and bad faith, are matched by the Motions.

        2.     What cannons of contract interpretation apply to the Court's analysis of the Plan,
Solicitation Procedures and Trust Distribution Procedures?

       In the Transcript at page 27/3-6, the Court asked “[i]s there some canon of

construction that I should be looking at to determine what to do with a plan that is silent

on the issue." Later, the Court compounded this question when it inquired if the

hierarchy of documents plays a role in interpretation. Id. at 85/12.

       The threshold question here is the nature of the relief sought by the Motion and

whether that relief requires modification of a confirmed plan or merely an interpretation

of that plan. To be clear, the Movants are not seeking, nor do they believe, the Plan must

be modified for the Court to grant the relief requested in the Motions. Accordingly, the

Movants assert that the task before the Court is limited to interpreting the Plan and

related documents.

       At the outset, it is worth noting that this Court retained jurisdiction over all aspects

of the bankruptcy case and the Plan. Dkt. 10316 at p. 67-68, ¶ 75. As such, when

interpreting a confirmed plan, the Court applies contract principles to determine the

meaning of confirmed plans. In re SS Body Armor I, Inc., 2021 Bankr. LEXIS 1527, *10

(Bankr. D. Del. June 7, 2021). The parameters of contract principles are well-worn.

Applying Delaware law, contract interpretation is a question of law. See Rhone-Polenc

Basis Chems. Co. v. American Motorists Ins. Co., 616 A.2d 1192,1195 (Del. 1992). The

intention of Delaware law is to interpret a contract to effectuate the intent of the parties.

See Lorillard Tobacco Co. v. Am. Legacy Found., 903 A.2d 728, 739 (Del. 2006). The Court

must first determine whether a contract is unambiguous as a matter of law. Northwestern


                                          Page 5 of 11
           Case 20-10343-LSS       Doc 11670     Filed 12/08/23    Page 6 of 11




Nat'l Ins. Co. v. Esmark, Inc., 672 A.2d 41, 43 (Del. 1996); GB Biosciences Corp. v. Ishihara

Sangyo Kaisha, Ltd., 270 F. Supp. 2d 476, 481-82 (D. Del. 2003). If the contract's language

is unambiguous, the Court interprets the contract based on the plain meaning of the

language on the document's face. GB Biosciences, at 482; see also Lorillard Tobacco at 739.

Delaware law also requires a court to "read a contract as a whole" and "give each

provision and term effect, so as not to render any part of the contract mere surplusage."

Estate of Osborn v. Kemp, 991 A.2d 1153, 1159 (Del. 2010) Delaware adheres to the

"objective theory of contracts," which means that a contract should be interpreted as it

"would be understood by an objective, reasonable third party." Id.

       When a contract is silent on an issue or matter, as here, Delaware courts apply the

concept of an implied covenant. Nationwide Emerging Managers, LLC v. Northpointe Hldgs.

LLC, 112 A.3d 878, 896 (Del. 2015). The implied covenant seeks to enforce the parties'

contractual bargain by implying only those terms that the parties would have agreed to

during their original negotiations if they had thought to address them. Dunlap v. State

Farm Fire & Cas. Co., 878 A.2d 434, 441 (Del. 2005). If a contract is silent, the implied

covenant can be employed "to analyze unanticipated developments or to fill gaps in the

contract's provisions." Id. When deploying an implied covenant analysis, a court must

“assess the parties' reasonable expectations at the time of contracting and not rewrite the

contract to appease a party who later wishes to rewrite a contract he now believes to have

been a bad deal.” Nemec v. Shrader, 991 A.2d 1120, 1125- 26 (Del. 2010).

       At the hearing, the Court expressed concern that the Plan was silent on a

claimant's ability to change their election later. This is true notwithstanding that during




                                        Page 6 of 11
           Case 20-10343-LSS        Doc 11670      Filed 12/08/23    Page 7 of 11




the confirmation hearing on September 29, 2023, the issue of changing the election was

clearly raised. Transcript at pp. 11/4 (citing Dkt. 6437 at pp. 99/6 to 102/24 discussion

relating to opting out of the $3,500 election). The Court noted that despite the unanimity

of all parties that a claimant could opt out of Expedited Distribution Election, such a

provision was never added to the Plan. As to the Expedited Distribution Election, the

Plan states:

       A Direct Abuse Claimant who does not make the Expedited Distribution
       Election . . . in accordance with the deadlines and procedures established
       by the Settlement Trust may not later elect to receive the Expedited
       Distribution. A Direct Abuse Claimant who makes the Expedited
       Distribution Election . . . shall have no other remedies with respect to any
       Direct Abuse Claim he or she has against the Settlement Trust, Protected
       Parties, Chartered Organizations, or any Non-Settling Insurance Company.
       Direct Abuse Claimants that make the Expedited Distribution Election . . .
       will not be eligible to receive any further distribution on account of their
       Direct Abuse Claim pursuant to these TDP. Plan, Art. VI (emphasis added).

Third Modified Fifth Amended Chapter 11 Plan of Reorganization (With Technical Modifications)

for Boy Scouts of America and Delaware BSA, LLC, at ART. VI. Dkt. 10296.

       From this language, the Trustee argued that the Plan language forbade any change

of election. That argument, however, not only misconstrues the plain language used but

also ignores a fundamental principle of contract interpretation.           As Delaware law

requires, reading this language within the plain meaning of the words does nothing to

foreclose or otherwise address a claimant's ability to change their election. Specifically,

the ART VI language does not address the finality of a claimant’s election.

       This language, however, raises another issue that touches upon the Court's

concern that the Plan is silent as to election finality. Specifically, in limiting the Election

Distribution Election, the Plan manifests the Plan constituencies' willingness to impose


                                         Page 7 of 11
           Case 20-10343-LSS        Doc 11670     Filed 12/08/23    Page 8 of 11




limits upon the claims process. In so doing, under the principle of expression unius est

exclusion alterius, the mention that one thing is included implies that another thing is

expressly excluded. While the Court was concerned that the Plan is silent about the

finality of an election or the ability to change an election, the consequence of that omission

can be accounted for as intentional. That intent is reflected by the fact that the Plan

constituencies knew of and imposed other limits upon the Election Distribution Election.

See Russello v. United States, 464 U.S. 16, 23, 104 S. Ct. 296, 78 L. Ed. 2d 17 (1983) ("Where

Congress includes particular language in one section of a statute but omits it in another

section of the same Act, it is generally presumed that Congress acts intentionally and

purposely in the disparate inclusion or exclusion.") (citations omitted); Microstrategy Inc.

v. Acacia Research Corp., 2010 Del. Ch. LEXIS 254, 2010 WL 5550455, *7 (Del. Ch. Dec. 30,

2010) (interpreting an unambiguous provision, the court found that the "use of different

language in the two sections shows the parties knew how" to provide coverage when

intended, which made the absence of such language in the other provision suggest the

same coverage was not present); Delmarva Health Plan, Inc. v. Aceto, 750 A.2d 1213, 1216

(Del. Ch. 1999) (applying the interpretative maxim of expression unius est exclusion

alterius—the expression of one thing is the exclusion of another—to find that a health

insurance provision did not impliedly exclude procedures in one section because the

insurance contract expressly excluded procedures in another) (citing Walt v. State, 727

A.2d 836, 840 (Del. 1999).

       In sum, under Delaware law, the Plan's silence, combined with its limitation on

the Election Distribution Election, supports this Court finding that an implied covenant




                                        Page 8 of 11
           Case 20-10343-LSS       Doc 11670    Filed 12/08/23    Page 9 of 11




allowing a claimant to change their election is consistent with the parties’ reasonable

expectations. Dunlap at 441. If the Court needs any further convincing of the parties’

intent, it only needs to look at the confirmation hearing transcript, Dkt. 6437 at pp. 99/6

to 102/24, cited during oral argument – all parties participating in the confirmation

hearing agreed that a claimant could change their election.

      The silence of the Plan, the Solicitation Procedures Order, or the Trust

Distribution Procedures to address the finality of an election left open to reasonable

minds the possibility that, consistent with those documents, an election could be

changed. It cannot be true that this was the intent of the parties. Nor should these

circumstances conspire to the prejudice of a claimant.

      Lastly, as others have argued, the Solicitation Order, at ART. V(D)(8) gives the

Court the authority to withdraw or amend ballots. Specifically, it notes that:

      "After the Voting Deadline, a Ballot may only be withdrawn or modified
      pursuant to an order of the Bankruptcy Court authorizing such withdrawal
      or modification. Any such withdrawal or modification shall be detailed in
      the Voting Report filed by the Solicitation Agent."

As the Court duly noted during the hearing, this provision tracks RULE 3018(a), which

would yield the result sought here under appropriate circumstances.

                                 FINAL ARGUMENTS

      As argued during oral argument, this Court has broad equitable powers to pass

on a wide range of problems arising from the administration of bankrupt estates. Pepper

v. Litton, 308 U.S. 295, at n 11 (1939). They have been invoked to the end that fraud will

not prevail, that substance will not give way to form, and that technical considerations

will not prevent substantial justice from being done. Indeed, that power is reflected and


                                       Page 9 of 11
           Case 20-10343-LSS        Doc 11670      Filed 12/08/23    Page 10 of 11




embodied in statute 11 U.S.C. § 105 and common law. Section 105(a) authorizes the court

to “issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” See also, United States v. Energy Resource Co., 495 U.S. 545, 549, 110

S. Ct. 2139, 109 L. Ed. 2d 580 (1990)(acknowledging § 105 as authorizing relief not

specifically authorized elsewhere in the Bankruptcy Code.)

       It boggles the mind that the Boy Scouts' bankruptcy was made necessary by the

ungodly abuse suffered by tens of thousands of victims and that, at the end of this

bankruptcy, those victims will be meaningfully denied the only fundamental benefit that

bankruptcy can deliver solely because they made an otherwise innocuous mistake of

checking an incorrect box.

                                           NOTICE

       The Krause & Kinsman law firm, The Robert Pahlke Law Group, and Davis

Bethune & Jones law firms, on behalf of certain of their respective clients do adopt the

argument of other claimant’s counsel;



 Dated: December 8, 2023                           Respectfully Submitted,

                                                   CONAWAY LEGAL, LLC

                                                   /s/ Bernard G. Conaway
                                                   Bernard G. Conaway, Esquire (DE 2856)
                                                   1007 North Orange Street, Ste. 400
                                                   Wilmington, DE 19801
                                                   Phone: (302) 428-9350
                                                   Email: bgc@conaway-legal.com




                                         Page 10 of 11
Case 20-10343-LSS   Doc 11670   Filed 12/08/23   Page 11 of 11




                          Counsel to Certain Clients of Krause & Kinsman,
                          The Robert Pahlke Law Group, and Davis Bethune
                          & Jones Law Firms




                       Page 11 of 11
